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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO
EASTERN DIVISION




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 UNITED STATES OF AMERICA                            :
                                                     : CASE NO. 5:05 CR 131
                                         Plaintiff   :
                                                     :
                       -vs-                          :
                                                     :
 MATTHEW D. SCHMID                                   : ORDER ACCEPTING PLEA AGREEMENT
                                                     : AND JUDGMENT AND NOTICE OF
                                      Defendant      : HEARING
 --------------------------------------------        :

UNITED STATES DISTRICT JUDGE LESLEY WELLS


       This case is before the Court on a Report and Recommendation filed by United

States Magistrate Judge William H. Baughman, Jr. regarding the change of plea hearing

and plea agreement of Matthew D. Schmid which was referred to the Magistrate Judge

with the consent of the parties.

       On 16 March 2005, the government filed a one-count indictment against

Matthew D. Schmid for conspiracy to possess with the intent to distribute and

distribution of a controlled substance in violation of 21 U.S.C. § 846. On 14 April 2005,

a hearing was held in which Matthew D. Schmid entered a plea of not guilty before

Magistrate Judge Baughman. On 21 February 2006, Magistrate Judge Baughman

received Matthew D. Schmid’s plea of guilty and issued a Report and Recommendation

(“R&R”) concerning whether the plea should be accepted and a finding of guilty

entered
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       Neither party submitted objections to the Magistrate Judge's R&R in the ten days

after it was issued.

       On de novo review of the record, the Magistrate Judge's R&R is adopted.

Matthew D. Schmid is found to be competent to enter a plea. He understands his

constitutional rights. He is aware of the charges and of the consequences of entering a

plea. There is an adequate factual basis for the plea. The Court finds the plea was

entered knowingly, intelligently, and voluntarily. The plea agreement is approved.

       Therefore, Matthew D. Schmid is adjudged guilty of Count One in violation of 21

U.S.C. § 846.

       Sentencing will be:

                       15 May 2006 at 2:00 p.m.

                       Courtroom 18-A
                       18th Floor the United States District Court
                       801 West Superior Avenue
                       Cleveland, Ohio 44113



       IT IS SO ORDERED.


                                         _/s/Lesley Wells_______________
                                         UNITED STATES DISTRICT JUDGE

Dated: 28 March 2006




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